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                              No. 23-3630
                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE SIXTH CIRCUIT


                          PARENTS DEFENDING EDUCATION
                                                  Plaintiff-Appellant,
                                           v.
 OLENTANGY LOCAL SCHOOL DISTRICT BOARD OF EDUCATION; MARK T.
   RAIFF, in his official capacity as Superintendent of Olentangy Local School District;
RANDY WRIGHT, in his official capacity as Olentangy’s Chief of Administrative Services;
 PETER STERN, in his official capacity as Olentangy’s Assistant Director of Equity and
  Inclusion; KEVIN DABERKOW, BRANDON LESTER, KEVIN O’BRIEN, LIBBY
WALLICK, and LAKESHA WYSE, in their official capacities as members of the Olentangy
                                    Board of Education,
                                                 Defendants-Appellees,



                    On Appeal from the United States District Court
                  for the Southern District of Ohio, No. 2:23-cv-01595


             PLAINTIFF’S UNOPPOSED MOTION TO EXPEDITE
                     APPEAL AND ORAL ARGUMENT


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       Plaintiff-Appellant Parents Defending Education (“PDE”) respectfully asks the Court

to expedite this appeal and schedule oral argument for its session in December 2023. PDE

makes this request because this is an appeal of a denial of a motion for a preliminary injunction,

and the harm caused by the Defendants-Appellees (the “District”) is ongoing and irreparable.

The District does not oppose the motion.

       1.      This appeal involves the legality of the District’s recently enacted policy that

“require[s] students to use the preferred pronouns” of classmates who identify as transgender

or non-binary, and subjects them to formal discipline for speech that others find “insulting,”

“dehumanizing,” “unwanted,” “discomfort[ing],” or “offensive.” Dkt. 28 at 28; Dkt. 7 at 1.

PDE filed a four-count complaint for declaratory and injunctive relief on May 11, 2023,

alleging that the District’s policies violate students’ First Amendment rights and parents’

Fourteenth Amendment rights to direct the care, custody, and control of their children. See

Dkt. 1. PDE moved for a preliminary injunction on all counts on the same day. See Dkt. 7.

       2.      The district court denied PDE’s motion on July 28, 2023, finding that PDE did

not satisfy the factors for granting a preliminary injunction. See Dkt. 28. PDE promptly

appealed. See Dkt. 29.

       3.      PDE respectfully requests that the Court schedule this case for oral argument

for the week of December 4-8, 2023.

       4.      Good cause exists to expedite oral argument. See 6 Cir. R. 27(f). The 2023-2024

school year begins on August 17th. Because the district court denied PDE’s motion for a

preliminary injunction, the children of PDE’s members will be forced to remain silent to avoid

punishment for violating the District’s restrictions on protected speech. See Dkt. 7 at 7-9. The



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harms from those violations are unquestionably irreparable. See, e.g., Bonnell v. Lorenzo, 241 F.3d

800, 809 (6th Cir. 2001); Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.”).

       5.      “[A]rgument will generally be expedited” in cases involving “appeals from

orders denying or granting preliminary or temporary injunctions.” 6 Cir. R. 34(c)(2). An

expedited oral argument is especially appropriate here because of the important constitutional

issues involved and the approaching school year. Without expedited oral argument, the

students will likely be forced to endure violations of their First Amendment rights for an entire

academic year.

       6.      Indeed, the district court itself recognized the urgency of resolving this matter,

issuing its lengthy opinion just four days after holding oral argument. See Dkt. 26; Dkt. 28.

       7.      Expediting oral argument will give the Court sufficient time to review the

parties’ briefs. PDE’s brief is due on September 25, 2023; the District’s response brief is due

October 24, 2023; and PDE’s reply brief will be due 21 days after that. See Doc. 19. The case

thus will be fully briefed no later than November 14, 2023.

       8.      This Court has recently granted similar requests to expedite appeals. See Vitolo

v. Guzman, 999 F.3d 353, 358 (6th Cir. 2021); Castillo v. Whitmer, 823 F. App’x 413, 418 (6th

Cir. 2020).

       9.      PDE informed the District of its intent to file this motion. The District states

that it “disagree[s] with Plaintiff’s substantive arguments and positions,” but “does not oppose

expedited oral argument.”



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                                    CONCLUSION

      For the reasons set forth above, PDE respectfully requests that the Court expedite this

appeal and schedule oral argument for December 2023.




      Respectfully Submitted,                    August 15, 2023

                                                 /s/ J. Michael Connolly
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                                                 Education




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                           CERTIFICATE OF COMPLIANCE
        This motion complies with the requirements of Fed. R. App. P. 27(d) because the

motion does not exceed 5,200 words.

        This motion also complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

and the type-style requirements of Fed. R. App. P. 32(a)(6) because this motion has been

prepared in a proportionally spaced typeface using Microsoft Word in 13 point Garamond

font.


        Dated: August 15, 2023                                      /s/ J. Michael Connolly




                               CERTIFICATE OF SERVICE
        I filed a true and correct copy of this brief with the Clerk of this Court via the CM/ECF

system, which will notify all counsel.


        Dated: August 15, 2023                                      /s/ J. Michael Connolly




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